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UNITED STATES COURT OF APPEALS
FOR THE NINTH CIRCUIT
Form 1. Notice of Appeal from a Judgment or Order of a
United States District Court

 

Name of U.S. District Court: [Northern District of California San Francisco

 

 

 

 

U.S. District Court case number: |20-cv-07811-RS

 

 

Date case was first filed in U.S. District Court: [November 5, 2020

 

 

 

Date of judgment or order you are appealing: Nanuary 5, 2021

 

Fee paid for appeal? (appeal fees are paid at the U.S. District Court)

C Yes @ No C IFP was granted by U.S. District Court

 

List all Appellants (List each party filing the appeal. Do not use “et al.” or other abbreviations.)

 

Adesijuola Ogunjobi--Plaintiff-Intervenor

 

 

Is this a cross-appeal? C Yes @ No

 

 

If Yes, what is the first appeal case number?

 

 

Was there a previous appeal in this case? C Yes @ No

 

If Yes, what is the prior appeal case number?

 

 

Your mailing address:

10200 Belle Rive Blvd Bldg 6 Unit 45

 

 

 

 

 

 

 

 

City: Jacksonville State: |FL Zip Code:}32256

 

 

 

 

 

 

 

 

 

 

Prisoner Inmate or A Number (if applicable):

 

 

 

Signature |Adesijuola Ogunjobi Date |1/20/2021

 

 

 

 

 

Complete and file with the attached representation statement in the U.S. District Court

Feedback or questions about this form? Email us at forms(@ca9.uscourts.gov

 

Form 1 Rey. 12/01/2018

 

 
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UNITED STATES COURT OF APPEALS
FOR THE NINTH CIRCUIT

Form 6. Representation Statement
Instructions for this form: http://www.ca9.uscourts.gov/forms/formO06instructions. pdf
Appellant(s) (List each party filing the appeal, do not use “et al.” or other abbreviations.)
Name(s) of party/parties:
Adesijuola Ogunjobi----Plaintiff-Intervenor

 

 

Name(s) of counsel (if any):
See attached Motion For Appointement of Counsel (Pending)

 

 

 

 

 

Address: |10200 Belle Rive Blvd Bldg 6 Unit 45 Jacksonville FL 32256
Telephone number(s): (904) 894-1466

Email(s): jadesijuolaogunjobi@gmail.com

 

 

 

 

 

 

 

 

Is counsel registered for Electronic Filing in the 9th Circuit? @ Yes © No

 

Appellee(s) (List only the names of parties and counsel who will oppose you on appeal. List
separately represented parties separately.)

Name(s) of party/parties:
David L. Anderson United States Attorney for the Northern District of California

 

 

Name(s) of counsel (if any):
Chris Kaltsas--Assistant United States Attorney for the Northern District of
California

 

 

 

 

 

Address: |450 Golden Gate Avenue Box 36055 San Francisco, California 94102
Telephone number(s): |(415) 436-7200
Email(s): |chris.kaltsas2@usdoj.gov

 

 

 

 

 

 

 

To list additional parties and/or counsel, use next page.

Feedback or questions about this form? Email us at forms@ca9.uscourts. gov

 

 

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Continued list of parties and counsel: (attach additional pages as necessary)

Appellants
Name(s) of party/parties:

 

 

Name(s) of counsel (if any):

 

 

 

 

 

Address:

 

 

 

Telephone number(s):
Email(s):
Is counsel registered for Electronic Filing in the 9th Circuit? C Yes C No

Appellees
Name(s) of party/parties:

Approximately 69,000 Bitcoin (BTC), Bitcoin Goldseized from
LHQ3Go3ges8pFnXuHVHRytPCq5fGG8Hbh

Name(s) of counsel (if any):

Rebecca Wilson

 

 

 

 

 

 

 

 

 

 

 

 

Address: |5 Park Plaza Suite 1500 Irvine, California 92614
Telephone number(s): |(949) 417-0999

Email(s): |rebecca.wilson@kutakrock.com

 

 

 

 

 

 

 

 

 

Name(s) of party/parties:

 

 

Name(s) of counsel (if any):

 

 

 

 

 

Address:

Telephone number(s):

Email(s):

 

 

 

 

 

 

 

 

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